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                                 UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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12     HARTFORD FIRE INSURANCE                     Case No. CV-12-5110-MWF (Ex)
13     COMPANY and MJC ENGINEERING &
       TECHNOLOGY, INC.                            JUDGMENT
14
15                  Plaintiff,

16           vs.
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       TOTAL TERMINALS
18     INTERNATIONAL, LLC,
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                    Defendant.
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21          On May 12, 2014, the Court granted the Motion for Partial Summary
22    Judgment in favor of Defendant Total Terminals International LLC (“TTI”) and
23    against Plaintiffs Hartford Fire Insurance Company and MJC Engineering &
24    Technology, Inc. (Docket No. 122). As stated in the Order Granting Partial
25    Summary Judgment in favor of TTI, the only claim for relief in the First Amended
26    Complaint (Docket No. 28) is subject to a $500 liability limitation. Pursuant to the
27    Order, TTI has paid $500 to Plaintiff in full satisfaction of this claim.
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                                             JUDGMENT
                                         Case No. CV-12-5110
     Case 2:12-cv-05110-MWF-E Document 126 Filed 05/29/14 Page 2 of 2 Page ID #:1938




 1          Based on the record established in this case, and good cause appearing
 2    therefor, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
 3    judgment be entered in favor of TTI as follows:
 4          1. Judgment is entered in favor of TTI on the Unreasonable Deviation claim
 5    for relief in the First Amended Complaint.
 6          2. TTI is the prevailing party for purposes of Federal Rule of Civil
 7    Procedure 54(d). TTI may submit its Bill of Costs to the Clerk pursuant to Local
 8    Rule 54-2.
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10    DATED: May 29, 2014.
11                                           MICHAEL W. FITZGERALD
                                             United States District Judge
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                                            JUDGMENT
                                        Case No. CV-12-5110
